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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 VADRDHMAN BHARATKUMAR PATEL
 et al.,

                  Plaintiffs,
                                                              No. 22-cv-2776 (DLF)
         v.

 ALEJANDRO MAYORKAS et al.,

                  Defendants.


                                                ORDER

        Before the Court is the defendants’ Consent Motion to Transfer, Dkt. 8. The case “might

have been brought” in the U.S. District Court for the Western District of Kentucky because the

plaintiffs reside in that district. 28 U.S.C. § 1404(a); see also id. § 1391(e)(1). Further, several

private interest and public interest factors favor transfer. The plaintiffs do not oppose the transfer.

At least some of the relevant witnesses—i.e., the plaintiffs themselves—reside in the transferee

district. None of the events relevant to the plaintiffs’ claim occurred in the District of Columbia.

See Ngonga v. Sessions, 318 F. Supp. 3d 270, 275 (D.D.C. 2018). Although the plaintiffs initially

chose to file in the District of Columbia, “deference to that choice is limited” because the plaintiffs

are “not . . . resident[s]” of this district, this action “lacks meaningful ties” to this district, and the

plaintiffs do not oppose the transfer. Wolfram Alpha LLC v. Cuccinelli, 490 F. Supp. 3d 324, 332

(D.D.C. 2020). Finally, because the “outcome of this action will be felt most strongly” in the

Western District of Kentucky, there is a “local interest” in resolving this case there. Id. at 338–39.

The other factors that courts generally consider in this posture—including the districts’ familiarity

with underlying law and their relative congestion—are neutral as to transfer. For those reasons,
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the Court finds that considerations of convenience and the “interest of justice” favor transfer. 28

U.S.C. § 1404(a). It is therefore

       ORDERED that the motion to transfer, Dkt. 8, is GRANTED, and this case is

TRANSFERRED to the U.S. District Court for the Western District of Kentucky. It is further

       ORDERED that the defendants shall answer the complaint within 21 days after the date

this action is docketed in the Western District of Kentucky, or at a time to be set by the transferee

court. The Clerk of Court is directed to close this case after the transfer is complete.

       SO ORDERED.



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                                                              DABNEY L. FRIEDRICH
November 15, 2022                                             United States District Judge




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